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                   EXHIBIT DA


                              EXHIBIT D
                                -52-
               Case 1:21-cv-06868-JPC                 Document 79-5        Filed 01/19/24       Page 2 of 105




From:                                  R J WiL <reon@wellingtoninvestigations.co.nz>
Sent:                                  Wednesday, November 1, 2023 11:51 AM
To:                                    Eckley M. Keach III
Cc:                                    Brian Williams; Sarah Campbell
Subject:                               Re: [EXT] Re: Request for Expedited Investigation and Process Service


Will do, thank you.
Two more attempts were made Wednesday 1st Nov, believing that James and partner may be away.
Our server set a sign, Placing a small piece of wood from their garden on the trim of the gate used to enter of leave,
in such a way that when opened it wouldn't fall but when closed it would.

He said last night it had fallen.

we will continue

On Thu, Nov 2, 2023 at 7:30 AM Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 Thank you. We’ve updated the Court. Please continue to attempt service.



 Eckley M. Keach III
 Counsel | Greenberg Gross LLP
 One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
 Direct 702.777.0876 | Main 702.777.0888
 EKeach@GGTrialLaw.com




 Los Angeles | Orange County | Las Vegas | New York




 From: R J WiL <reon@wellingtoninvestigations.co.nz>
 Sent: Monday, October 30, 2023 9:24 PM
 To: Eckley M. Keach III <EKeach@GGTrialLaw.com>
 Subject: Re: [EXT] Re: Request for Expedited Investigation and Process Service



 Yes we are working on it, 4 attempts have been made already, with no one coming to the door, apartment is occupied.

 Will make another attempt later tonight.




                                                                 1

                                                            EXHIBIT D
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              Case 1:21-cv-06868-JPC                  Document 79-5     Filed 01/19/24   Page 3 of 105




Please excuse brevity sent from mobile device:

RJ Viles | Senior Investigator | WIL

Security Technician & Consultant.

NTT Tower, level 16,
157 Lambton Quay,

Mob: 021-562-333
Office; 04-213-9414
Free Call; 0800-787-732

www.wellingtoninvestigations.co.nz




On Tue, 31 Oct 2023 at 07:48, Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 Mr. Viles,



 Can you please provide us with a status update as to the service of Mr. Euringer? We have a court deadline of October
 31 to serve or provide a status update.



 Thank you,



 Eckley M. Keach III
 Counsel | Greenberg Gross LLP
 One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
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                                                           EXHIBIT D
                                                             -54-
             Case 1:21-cv-06868-JPC                  Document 79-5     Filed 01/19/24    Page 4 of 105



From: Eckley M. Keach III
Sent: Thursday, October 26, 2023 9:53 AM
To: reon@wellingtoninvestigations.co.nz
Cc: Sarah Campbell <SCampbell@GGTrialLaw.com>; Brian Williams <BWilliams@GGTrialLaw.com>
Subject: RE: [EXT] Re: Request for Expedited Investigation and Process Service



Mr. Viles,



Attached is a copy of the summons and complaint. Please have your firm serve these personally on Mr. Euringer as
soon as possible. If you cannot make service by 10/30, please let me know.



I am also attaching the proof of service form. When your firm accomplishes service on Mr. Euringer, please fill this out
and send it to me along with whatever other proof of service documents you ordinarily provide.



Thank you,



Eckley M. Keach III
Counsel | Greenberg Gross LLP
One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
Direct 702.777.0876 | Main 702.777.0888
EKeach@GGTrialLaw.com




Los Angeles | Orange County | Las Vegas | New York




From: R J WiL <reon@wellingtoninvestigations.co.nz>
Sent: Tuesday, October 24, 2023 12:21 AM
To: Eckley M. Keach III <EKeach@GGTrialLaw.com>
Subject: Re: [EXT] Re: Request for Expedited Investigation and Process Service




Apartment 8,

76 Brougham Street,
                                                              3
                                                          EXHIBIT D
                                                            -55-
            Case 1:21-cv-06868-JPC                    Document 79-5    Filed 01/19/24   Page 5 of 105

Mount Victoria,

Wellington,

New Zealand, 6011,,,




On Tue, Oct 24, 2023 at 1:30 PM Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 Mr. Viles,



 I am following up from below. At your earliest convenience, can you please tell me the address that you have
 identified as belonging to Mr. Euringer so that I may add it to the summons?



 Thank you,



 Eckley M. Keach III
 Counsel | Greenberg Gross LLP
 One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
 Direct 702.777.0876 | Main 702.777.0888
 EKeach@GGTrialLaw.com




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 From: Eckley M. Keach III
 Sent: Monday, October 23, 2023 11:32 AM
 To: reon@wellingtoninvestigations.co.nz
 Subject: RE: [EXT] Re: Request for Expedited Investigation and Process Service



 Mr. Viles,



 Now that we have paid your invoice, can you please tell me the address that you have identified as belonging to Mr.
 Euringer so that I may add it to the summons?
                                                               4
                                                           EXHIBIT D
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           Case 1:21-cv-06868-JPC                    Document 79-5    Filed 01/19/24   Page 6 of 105



Thank you,



Eckley M. Keach III
Counsel | Greenberg Gross LLP
One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
Direct 702.777.0876 | Main 702.777.0888
EKeach@GGTrialLaw.com




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Sent: Monday, October 23, 2023 11:15 AM
To: reon@wellingtoninvestigations.co.nz
Subject: RE: [EXT] Re: Request for Expedited Investigation and Process Service



We have paid your invoice.



I am waiting on the court to return a signed summons for this case. I expect it to be returned either today or
tomorrow. As soon as I receive the summons, I will send a copy of it and the complaint to you for personal service on
Euringer.



Thank you,



Eckley M. Keach III
Counsel | Greenberg Gross LLP
One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
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EKeach@GGTrialLaw.com




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                                                          EXHIBIT D
                                                            -57-
        Case 1:21-cv-06868-JPC                  Document 79-5      Filed 01/19/24    Page 7 of 105



From: R J WiL <reon@wellingtoninvestigations.co.nz>
Sent: Sunday, October 22, 2023 2:22 PM
To: Eckley M. Keach III <EKeach@GGTrialLaw.com>
Subject: Re: [EXT] Re: Request for Expedited Investigation and Process Service



We will proceed and finalise the locate on James Euringer, I have sent invoice with PayPal link to make payment
straight forward. Once received we will make 1st attempt within 72hrs,



Regards Reon Viles




On Mon, 23 Oct 2023 at 08:08, Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 That is acceptable. Please send us an invoice. I will provide you with the summons and complaint to serve.



 Thank you,



 Eckley M. Keach III
 Counsel | Greenberg Gross LLP
 One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
 Direct 702.777.0876 | Main 702.777.0888
 EKeach@GGTrialLaw.com

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          On Oct 21, 2023, at 7:40 PM, R J WiL <reon@wellingtoninvestigations.co.nz> wrote:



          I have run a preliminary locate to give you an estimate. We have found historic links to James
          Euringer with ## Sept 1969 in our database, and several recent articles to go through. Out locate
          estimate is 3hrs and database access, as we believe we have his current address this just needs to
          be data matched to confirm,

          Our locate rate is $120p/hr, and database is $85,


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     Document service fee will be $380plus gst, and travel is $1.10km, which I
     included. affidavit preparation and swearing is $85.

     James appears to be residing in Wellington.



     Our rates are plus gst,

     Locate, $445 plus gst

     Process serve$465plus gst, includes travel and affidavit.

     Total $910plus 15% gst,



     This is required prior to finalising the locate,



     If you wish to proceed I will have office send invoice.




     Please excuse brevity sent from mobile device:

     RJ Viles | Senior Investigator | WIL

     Security Technician & Consultant.

     NTT Tower, level 16,
     157 Lambton Quay,

     Mob: 021-562-333
     Office; 04-213-9414
     Free Call; 0800-787-732

     www.wellingtoninvestigations.co.nz




     On Sun, 22 Oct 2023 at 13:34, Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

      Thank you for the prompt reply.



                                                        7
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      We do not have an address for him. We would need you to locate him and his address.



      Before starting would you kindly send a price quote for your services?



      Thank you,



      Eckley M. Keach III
      Counsel | Greenberg Gross LLP
      One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
      Direct 702.777.0876 | Main 702.777.0888
      EKeach@GGTrialLaw.com

      Los Angeles | Orange County | Las Vegas | New York




               On Oct 21, 2023, at 4:42 PM, R J WiL <reon@wellingtoninvestigations.co.nz>
               wrote:



               Yes, we can do that for you.



               Do you have the respondents address or would you like us to begin tracing them,




               Regards Reon Viles




               On Sat, 21 Oct 2023 at 11:52, Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

                Hello,



                My firm represents a plaintiff in a lawsuit arising from the Southern District of
                New York. The case is Jane Doe 7015 v. Elektra Entertainment Group, Inc., et al.,
                case 1:21-cv-0686-AJN-JEW.
                                                           8
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                            We have been told that one of the named defendants in the case, James Euringer,
                            resides in New Zealand, along with his wife, Chantal. We are seeking the services
                            of an investigator and process server to locate James Euringer and serve him with
                            a copy of the summons and complaint.



                            We have a deadline to serve Euringer by October 31, 2023. Can you please
                            provide a quote for the cost of your services? We would like to start trying to
                            serve Mr. Euringer on Monday, October 23, 2023, or as soon as possible.



                            Respectfully,



                            Eckley M. Keach III
                            Counsel | Greenberg Gross LLP
                            One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
                            Direct 702.777.0876 | Main 702.777.0888
                            EKeach@GGTrialLaw.com

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--

RJ Viles | Senior Investigator | WIL

MOJ Licensed Security Consultant & Technician
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           Case 1:21-cv-06868-JPC                     Document 79-5                Filed 01/19/24            Page 11 of 105

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Worldwide Association Member - WASP

Certified Fraud Examiner - Associate Member



Office; NTT Tower, L16, 157 Lambton Quay, Wellington 6011

Postal; Suite 7953, Level 1, 6 Johnsonville Rd, Wellington 6037

M 021 562 333 | Office 04 213 9414 | Free Call 0800 787 732




www.wellingtoninvestigations.co.nz

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--
RJ Viles | Senior Investigator | WIL

MOJ Licensed Security Consultant & Technician

Government License # 23-103616




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Certified Fraud Examiner - Associate Member



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communication from all data storage devices and destroy all hard copies. Licensed s.72(3) PSP & PI Act 2010.




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                      Case 1:21-cv-06868-JPC          Document 79-5      Filed 01/19/24    Page 13 of 105




From:                                  R J WiL <reon@wellingtoninvestigations.co.nz>
Sent:                                  Monday, November 6, 2023 6:44 PM
To:                                    Eckley M. Keach III
Subject:                               Re: [EXT] Re: Request for Expedited Investigation and Process Service
Attachments:                           image_6487327.JPG; image_67159553.JPG; image_50391041.JPG; image_6487327.JPG;
                                       image_6487327.JPG; image_6487327.JPG; image_6487327.JPG; image_6487327.JPG;
                                       image_6487327.JPG


Apologies Eckley,
We have been back twice on evening of Friday 3rd Nov and after performing a door knock, agent took up OP, parking
illegally to observe the targets apartment, agent noted that the lights on. After about 30mintes agent did see a adult
male walk right to left from the lounge to kitchen, then the male
POI believed to be James Euringer
may have seen agent, the male then turned the lights off before walking back from the kitchen.
See photos.
So it’s believed the James Euringer is evading service. Our suggestion is to run a morning or 2 surveillance and serve
James as he exits the apartment onto the street.


Let us know if you have any questions,


Regards Reon Viles

On Tue, Nov 7, 2023 at 7:43 AM Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 Mr. Viles,



 Can you please provide me with an update on your service attempts and any incurred expenses since our last payment?



 Thank you,



 Eckley M. Keach III
 Counsel | Greenberg Gross LLP
 One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
 Direct 702.777.0876 | Main 702.777.0888
 EKeach@GGTrialLaw.com

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                      Case 1:21-cv-06868-JPC          Document 79-5    Filed 01/19/24    Page 14 of 105



From: R J WiL <reon@wellingtoninvestigations.co.nz>
Sent: Wednesday, November 1, 2023 11:51 AM
To: Eckley M. Keach III <EKeach@GGTrialLaw.com>
Cc: Brian Williams <BWilliams@GGTrialLaw.com>; Sarah Campbell <SCampbell@GGTrialLaw.com>
Subject: Re: [EXT] Re: Request for Expedited Investigation and Process Service



Will do, thank you.

Two more attempts were made Wednesday 1st Nov, believing that James and partner may be away.

Our server set a sign, Placing a small piece of wood from their garden on the trim of the gate used to enter of leave,

in such a way that when opened it wouldn't fall but when closed it would.



He said last night it had fallen.



we will continue



On Thu, Nov 2, 2023 at 7:30 AM Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 Thank you. We’ve updated the Court. Please continue to attempt service.



 Eckley M. Keach III
 Counsel | Greenberg Gross LLP
 One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
 Direct 702.777.0876 | Main 702.777.0888
 EKeach@GGTrialLaw.com

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 From: R J WiL <reon@wellingtoninvestigations.co.nz>
 Sent: Monday, October 30, 2023 9:24 PM
 To: Eckley M. Keach III <EKeach@GGTrialLaw.com>
 Subject: Re: [EXT] Re: Request for Expedited Investigation and Process Service

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                                                           EXHIBIT D
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      Case 1:21-cv-06868-JPC           Document 79-5         Filed 01/19/24       Page 15 of 105



Yes we are working on it, 4 attempts have been made already, with no one coming to the door, apartment is
occupied.

Will make another attempt later tonight.




Please excuse brevity sent from mobile device:

RJ Viles | Senior Investigator | WIL

Security Technician & Consultant.

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157 Lambton Quay,

Mob: 021-562-333
Office; 04-213-9414
Free Call; 0800-787-732

www.wellingtoninvestigations.co.nz




On Tue, 31 Oct 2023 at 07:48, Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 Mr. Viles,



 Can you please provide us with a status update as to the service of Mr. Euringer? We have a court deadline of
 October 31 to serve or provide a status update.



 Thank you,



 Eckley M. Keach III
 Counsel | Greenberg Gross LLP
                                                         3
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                                                   -66-
                     Case 1:21-cv-06868-JPC          Document 79-5    Filed 01/19/24    Page 16 of 105

One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
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From: Eckley M. Keach III
Sent: Thursday, October 26, 2023 9:53 AM
To: reon@wellingtoninvestigations.co.nz
Cc: Sarah Campbell <SCampbell@GGTrialLaw.com>; Brian Williams <BWilliams@GGTrialLaw.com>
Subject: RE: [EXT] Re: Request for Expedited Investigation and Process Service



Mr. Viles,



Attached is a copy of the summons and complaint. Please have your firm serve these personally on Mr. Euringer as
soon as possible. If you cannot make service by 10/30, please let me know.



I am also attaching the proof of service form. When your firm accomplishes service on Mr. Euringer, please fill this
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Thank you,



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From: R J WiL <reon@wellingtoninvestigations.co.nz>
Sent: Tuesday, October 24, 2023 12:21 AM


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                                                          EXHIBIT D
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      Case 1:21-cv-06868-JPC                  Document 79-5       Filed 01/19/24   Page 17 of 105

To: Eckley M. Keach III <EKeach@GGTrialLaw.com>
Subject: Re: [EXT] Re: Request for Expedited Investigation and Process Service




Apartment 8,

76 Brougham Street,

Mount Victoria,

Wellington,

New Zealand, 6011,,,




On Tue, Oct 24, 2023 at 1:30 PM Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 Mr. Viles,



 I am following up from below. At your earliest convenience, can you please tell me the address that you have
 identified as belonging to Mr. Euringer so that I may add it to the summons?



 Thank you,



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 From: Eckley M. Keach III
 Sent: Monday, October 23, 2023 11:32 AM
 To: reon@wellingtoninvestigations.co.nz
 Subject: RE: [EXT] Re: Request for Expedited Investigation and Process Service


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                     Case 1:21-cv-06868-JPC      Document 79-5      Filed 01/19/24   Page 18 of 105



Mr. Viles,



Now that we have paid your invoice, can you please tell me the address that you have identified as belonging to Mr.
Euringer so that I may add it to the summons?



Thank you,



Eckley M. Keach III
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Sent: Monday, October 23, 2023 11:15 AM
To: reon@wellingtoninvestigations.co.nz
Subject: RE: [EXT] Re: Request for Expedited Investigation and Process Service



We have paid your invoice.



I am waiting on the court to return a signed summons for this case. I expect it to be returned either today or
tomorrow. As soon as I receive the summons, I will send a copy of it and the complaint to you for personal service
on Euringer.



Thank you,



Eckley M. Keach III
Counsel | Greenberg Gross LLP
One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135

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From: R J WiL <reon@wellingtoninvestigations.co.nz>
Sent: Sunday, October 22, 2023 2:22 PM
To: Eckley M. Keach III <EKeach@GGTrialLaw.com>
Subject: Re: [EXT] Re: Request for Expedited Investigation and Process Service



We will proceed and finalise the locate on James Euringer, I have sent invoice with PayPal link to make payment
straight forward. Once received we will make 1st attempt within 72hrs,



Regards Reon Viles




On Mon, 23 Oct 2023 at 08:08, Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 That is acceptable. Please send us an invoice. I will provide you with the summons and complaint to serve.



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 Counsel | Greenberg Gross LLP
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 EKeach@GGTrialLaw.com

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                     On Oct 21, 2023, at 7:40 PM, R J WiL <reon@wellingtoninvestigations.co.nz> wrote:




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    I have run a preliminary locate to give you an estimate. We have found historic links to James
    Euringer with ## Sept 1969 in our database, and several recent articles to go through. Out locate
    estimate is 3hrs and database access, as we believe we have his current address this just needs to
    be data matched to confirm,

    Our locate rate is $120p/hr, and database is $85,

    Document service fee will be $380plus gst, and travel is $1.10km, which I
    included. affidavit preparation and swearing is $85.

    James appears to be residing in Wellington.



    Our rates are plus gst,

    Locate, $445 plus gst

    Process serve$465plus gst, includes travel and affidavit.

    Total $910plus 15% gst,



    This is required prior to finalising the locate,



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      On Sun, 22 Oct 2023 at 13:34, Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

       Thank you for the prompt reply.



       We do not have an address for him. We would need you to locate him and his address.



       Before starting would you kindly send a price quote for your services?



       Thank you,



       Eckley M. Keach III
       Counsel | Greenberg Gross LLP
       One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
       Direct 702.777.0876 | Main 702.777.0888
       EKeach@GGTrialLaw.com

       Los Angeles | Orange County | Las Vegas | New York




                On Oct 21, 2023, at 4:42 PM, R J WiL <reon@wellingtoninvestigations.co.nz>
                wrote:



                Yes, we can do that for you.



                Do you have the respondents address or would you like us to begin tracing them,




                Regards Reon Viles




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                       On Sat, 21 Oct 2023 at 11:52, Eckley M. Keach III <EKeach@ggtriallaw.com>
                       wrote:

                        Hello,



                        My firm represents a plaintiff in a lawsuit arising from the Southern District of
                        New York. The case is Jane Doe 7015 v. Elektra Entertainment Group, Inc., et al.,
                        case 1:21-cv-0686-AJN-JEW.



                        We have been told that one of the named defendants in the case, James
                        Euringer, resides in New Zealand, along with his wife, Chantal. We are seeking
                        the services of an investigator and process server to locate James Euringer and
                        serve him with a copy of the summons and complaint.



                        We have a deadline to serve Euringer by October 31, 2023. Can you please
                        provide a quote for the cost of your services? We would like to start trying to
                        serve Mr. Euringer on Monday, October 23, 2023, or as soon as possible.



                        Respectfully,



                        Eckley M. Keach III
                        Counsel | Greenberg Gross LLP
                        One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
                        Direct 702.777.0876 | Main 702.777.0888
                        EKeach@GGTrialLaw.com

                        <image001.png>

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 --

 RJ Viles | Senior Investigator | WIL

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From:                                  R J WiL <reon@wellingtoninvestigations.co.nz>
Sent:                                  Tuesday, November 7, 2023 11:57 PM
To:                                    Eckley M. Keach III
Cc:                                    Brian Williams; Sarah Campbell
Subject:                               Re: [EXT] Re: Request for Expedited Investigation and Process Service
Attachments:                           image_67171329.JPG; image_50364929.JPG; image_50436097.JPG; image_67172865.JPG;
                                       image_50436865.JPG


Invoice has been sent,

Lucky    we checked,
white medium sized fluffy dog from 2020 is now a large slim black dog,

Good to know, maybe we aren’t the only ones knocking on his door,

Regards Reon Viles




On Wed, 8 Nov 2023 at 15:25, Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 That’s fine. You can go ahead with the 3 hr strategy as discussed.



 Thank you,



 Eckley M. Keach III
 Counsel | Greenberg Gross LLP
 One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
 Direct 702.777.0876 | Main 702.777.0888
 EKeach@GGTrialLaw.com




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 From: R J WiL <reon@wellingtoninvestigations.co.nz>
 Sent: Tuesday, November 7, 2023 5:58 PM
 To: Eckley M. Keach III <EKeach@GGTrialLaw.com>
 Subject: Re: [EXT] Re: Request for Expedited Investigation and Process Service
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3hrs surveillance onsite and 30min travel time each way,

total will be $545plus gst,



$626\NZD,




On Wed, Nov 8, 2023 at 2:54 PM Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 I agree with your strategy and am inclined to follow the 3hr approach, however I will need at least a rough cost
 estimate before agreeing so that I can receive approval. Once I have that I can confirm our approval of the 3 hrs.



 Thanks,



 Eckley M. Keach III
 Counsel | Greenberg Gross LLP
 One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
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 From: R J WiL <reon@wellingtoninvestigations.co.nz>
 Sent: Tuesday, November 7, 2023 5:50 PM
 To: Eckley M. Keach III <EKeach@GGTrialLaw.com>
 Subject: Re: [EXT] Re: Request for Expedited Investigation and Process Service



 Agreed, We want to time it right,

 Our minimum is 2hrs, I'll send an invoice, What we know is .....

 There is a partner Chantel, two young children, They have a dog,!!

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So that'll be the achilles heel,

The morning walk with the dog so it can pee.




These pictures I've just found lokk to be taken in the current apartment, The black timber wall panels look very
similar,

If I was a betting man, I'd run for 3hrs, from 6.30am-9.30am, If just 2 hours, we get 6.30-8.30am, or 7.30-9.30am,

I'd be disappointed to miss him. To give your client some reassurance if you choose to do 3hrs, and if James isnt
sighted walking dog,



I'll do surveillance the following morning at no extra charge,

To sure up the chance to get him, Ill have an agent check the address with a drive by thru the evening tonight,




Thoughts???




On Wed, Nov 8, 2023 at 12:51 PM Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 Thanks for the update. I agree with your suggestion – hopefully he exits the apartment in the morning.



 Eckley M. Keach III
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From: R J WiL <reon@wellingtoninvestigations.co.nz>
Sent: Monday, November 6, 2023 6:44 PM
To: Eckley M. Keach III <EKeach@GGTrialLaw.com>
Subject: Re: [EXT] Re: Request for Expedited Investigation and Process Service



Apologies Eckley,

We have been back twice on evening of Friday 3rd Nov and after performing a door knock, agent took up OP, parking
illegally to observe the targets apartment, agent noted that the lights on. After about 30mintes agent did see a adult
male walk right to left from the lounge to kitchen, then the male

POI believed to be James Euringer

may have seen agent, the male then turned the lights off before walking back from the kitchen.

See photos.

So it’s believed the James Euringer is evading service. Our suggestion is to run a morning or 2 surveillance and serve
James as he exits the apartment onto the street.




Let us know if you have any questions,




Regards Reon Viles



On Tue, Nov 7, 2023 at 7:43 AM Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 Mr. Viles,




 Process Service



 Will do, thank you.
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Two more attempts were made Wednesday 1st Nov, believing that James and partner may be away.

Our server set a sign, Placing a small piece of wood from their garden on the trim of the gate used to enter of leave,

in such a way that when opened it wouldn't fall but when closed it would.



He said last night it had fallen.



we will continue



On Thu, Nov 2, 2023 at 7:30 AM Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 Thank you. We’ve updated the Court. Please continue to attempt service.



 Eckley M. Keach III
 Counsel | Greenberg Gross LLP
 One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
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 From: R J WiL <reon@wellingtoninvestigations.co.nz>
 Sent: Monday, October 30, 2023 9:24 PM
 To: Eckley M. Keach III <EKeach@GGTrialLaw.com>
 Subject: Re: [EXT] Re: Request for Expedited Investigation and Process Service



 Yes we are working on it, 4 attempts have been made already, with no one coming to the door, apartment is
 occupied.

 Will make another attempt later tonight.




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Mr. Viles,



Attached is a copy of the summons and complaint. Please have your firm serve these personally on Mr. Euringer
as soon as possible. If you cannot make service by 10/30, please let me know.



I am also attaching the proof of service form. When your firm accomplishes service on Mr. Euringer, please fill this
out and send it to me along with whatever other proof of service documents you ordinarily provide.



Thank you,



Eckley M. Keach III
Counsel | Greenberg Gross LLP
One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
Direct 702.777.0876 | Main 702.777.0888
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From: R J WiL <reon@wellingtoninvestigations.co.nz>
Sent: Tuesday, October 24, 2023 12:21 AM
To: Eckley M. Keach III <EKeach@GGTrialLaw.com>
Subject: Re: [EXT] Re: Request for Expedited Investigation and Process Service




Apartment 8,

76 Brougham Street,

Mount Victoria,

Wellington,

New Zealand, 6011,,,


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On Tue, Oct 24, 2023 at 1:30 PM Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 Mr. Viles,



 I am following up from below. At your earliest convenience, can you please tell me the address that you have
 identified as belonging to Mr. Euringer so that I may add it to the summons?



 Thank you,



 Eckley M. Keach III
 Counsel | Greenberg Gross LLP
 One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
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 EKeach@GGTrialLaw.com

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 From: Eckley M. Keach III
 Sent: Monday, October 23, 2023 11:32 AM
 To: reon@wellingtoninvestigations.co.nz
 Subject: RE: [EXT] Re: Request for Expedited Investigation and Process Service



 Mr. Viles,



 Now that we have paid your invoice, can you please tell me the address that you have identified as belonging to
 Mr. Euringer so that I may add it to the summons?



 Thank you,




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From: Eckley M. Keach III
Sent: Monday, October 23, 2023 11:15 AM
To: reon@wellingtoninvestigations.co.nz
Subject: RE: [EXT] Re: Request for Expedited Investigation and Process Service



We have paid your invoice.



I am waiting on the court to return a signed summons for this case. I expect it to be returned either today or
tomorrow. As soon as I receive the summons, I will send a copy of it and the complaint to you for personal
service on Euringer.



Thank you,



Eckley M. Keach III
Counsel | Greenberg Gross LLP
One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
Direct 702.777.0876 | Main 702.777.0888
EKeach@GGTrialLaw.com

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From: R J WiL <reon@wellingtoninvestigations.co.nz>
Sent: Sunday, October 22, 2023 2:22 PM
To: Eckley M. Keach III <EKeach@GGTrialLaw.com>
Subject: Re: [EXT] Re: Request for Expedited Investigation and Process Service



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We will proceed and finalise the locate on James Euringer, I have sent invoice with PayPal link to make payment
straight forward. Once received we will make 1st attempt within 72hrs,



Regards Reon Viles




On Mon, 23 Oct 2023 at 08:08,

 One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
 Direct 702.777.0876 | Main 702.777.0888
 EKeach@GGTrialLaw.com

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          On Oct 21, 2023, at 7:40 PM, R J WiL <reon@wellingtoninvestigations.co.nz> wrote:



          I have run a preliminary locate to give you an estimate. We have found historic links to James
          Euringer with ## Sept 1969 in our database, and several recent articles to go through. Out
          locate estimate is 3hrs and database access, as we believe we have his current address this just
          needs to be data matched to confirm,

          Our locate rate is $120p/hr, and database is $85,

          Document service fee will be $380plus gst, and travel is $1.10km, which I
          included. affidavit preparation and swearing is $85.

          James appears to be residing in Wellington.



          Our rates are plus gst,

          Locate, $445 plus gst

          Process serve$465plus gst, includes travel and affidavit.

          Total $910plus 15% gst,



          This is required prior to finalising the locate,


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                     If you wish to proceed I will have office send invoice.




                     Please excuse brevity sent from mobile device:

                     RJ Viles | Senior Investigator | WIL

                     Security Technician & Consultant.

                     NTT Tower, level 16,
                     157 Lambton Quay,

                     Mob: 021-562-333
                     Office; 04-213-9414
                     Free Call; 0800-787-

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                              EXHIBIT D
                               -104-
            Case 1:21-cv-06868-JPC           Document 79-5         Filed 01/19/24      Page 54 of 105




From:                            R J WiL <reon@wellingtoninvestigations.co.nz>
Sent:                            Monday, November 13, 2023 12:05 AM
To:                              Eckley M. Keach III
Subject:                         [EXT] Euringer


James and family have returned. At no stage over weekend we’re the lights turned on or movement sighted.




See 2 short video showing James walking from lounge to kitchen and back several times in both videos.




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                                                     EXHIBIT D
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            RJ Viles | Senior Investigator | WIL

            Security Technician & Consultant.

            NTT Tower, level 16,
            157 Lambton Quay,

            Mob: 021-562-333
            Office; 04-213-9414
            Free Call; 0800-787-732

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                                      EXHIBIT D
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              Case 1:21-cv-06868-JPC             Document 79-5       Filed 01/19/24      Page 57 of 105




From:                               R J WiL <reon@wellingtoninvestigations.co.nz>
Sent:                               Tuesday, November 14, 2023 12:50 PM
To:                                 Eckley M. Keach III
Subject:                            Re: [EXT] Re: Euringer
Attachments:                        IMG_0.MOV


Monday night video.
Male of slim Build,

And Tuesday evening, he had door open, seen male but couldn’t get him on Video,


I’ll look at some options.



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157 Lambton Quay,

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Free Call; 0800-787-732

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On Wed, 15 Nov 2023 at 07:23, Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

 Mr. Viles,



 Thank you for the updates. At this point, what options do we have to either serve Euringer personally or serve him by
 alternative service?



 Thanks,




                                                            1

                                                       EXHIBIT D
                                                        -108-
              Case 1:21-cv-06868-JPC                 Document 79-5      Filed 01/19/24   Page 58 of 105
Eckley M. Keach III
Counsel | Greenberg Gross LLP
One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
Direct 702.777.0876 | Main 702.777.0888
EKeach@GGTrialLaw.com




Los Angeles | Orange County | Las Vegas | New York




From: R J WiL <reon@wellingtoninvestigations.co.nz>
Sent: Monday, November 13, 2023 12:07 AM
To: Eckley M. Keach III <EKeach@GGTrialLaw.com>
Subject: [EXT] Re: Euringer



And apartment had internal car parking, I believe these are linked to apartment 8,

Also have young twins the toys do

Seem to correspond,




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                                                          EXHIBIT D
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       Case 1:21-cv-06868-JPC           Document 79-5        Filed 01/19/24       Page 59 of 105

On Mon, 13 Nov 2023 at 21:04, R J WiL <reon@wellingtoninvestigations.co.nz> wrote:

 James and family have returned. At no stage over weekend we’re the lights turned on or movement sighted.




 See 2 short video showing James walking from lounge to kitchen and back several times in both videos.




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                                                EXHIBIT D
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             Case 1:21-cv-06868-JPC              Document 79-5           Filed 01/19/24        Page 62 of 105




From:                                R J WiL <reon@wellingtoninvestigations.co.nz>
Sent:                                Sunday, November 19, 2023 3:30 AM
To:                                  Eckley M. Keach III
Subject:                             Re: [EXT] Re: Euringer
Attachments:                         image_123655411.JPG; image_123655411.JPG; image_123655411.JPG; image_
                                     123655411.JPG; image_123655411.JPG; image_123655411.JPG


Morning Eckley,
On 9th NOV at 6.53am, onsite 3.5hrs, leaving at 10.40am, not seen, Paid.
I returned at 7.35pm, saying for 1hr, extra.
On 10th Nov, 6.50am, Onsite 3hrs, leaving at 9.40am, Paid.
I returned at 6pm, staying 1hr, extra.
On Monday 13th Nov, 7.50pm, got video of James, 2hrs, extra,
On Tuesday 14th Nov, 7.25pm, door on to deck open, seen but no video or stills, 2hrs,
Wednesday 15th Nov at 9.37am, , 1hr,
On friday 17th Nov, 4.11pm, I took up observation and parking on a different street so I was looking into the
underground car parking,
As a vehicle exited I entered the carpark on foot, noting cars parked and registrations,
Parked side by side were HWK829, and MMTKAR, Running these plates I discovered James Euringer registered owner of
HWK829, a Silver sedan Holden Cruze,
At 5.10pm I did see James Euringer drive MMTKAR a Silver Subaru legacy Sedan into the car park. I was not in a position
to exit the car and enter the underground car park before the door closed.
I have attended and surveilled the address an additional 8hrs including Friday 17th Nov. If I allow 2hrs to re
attend monday or Tuesday then that will be 10hrs extra I have spent.

I would like to propose that I try serve James in person and only if I am successful, then I will charge a further 5hrs. I will
do this on a No service no charge basis, .

Let me know if this is acceptable.

Regards Reon Viles

On Fri, Nov 17, 2023 at 4:28 PM R J WiL <reon@wellingtoninvestigations.co.nz> wrote:
 Onsite trying to serve Jimmy, I have a plan,


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            Case 1:21-cv-06868-JPC             Document 79-5           Filed 01/19/24   Page 63 of 105


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On Wed, 15 Nov 2023 at 09:50, R J WiL <reon@wellingtoninvestigations.co.nz> wrote:
 Monday night video.
 Male of slim Build,

 And Tuesday evening, he had door open, seen male but couldn’t get him on Video,


 I’ll look at some options.



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  Thank you for the updates. At this point, what options do we have to either serve Euringer personally or serve him by
  alternative service?



  Thanks,



  Eckley M. Keach III
  Counsel | Greenberg Gross LLP
  One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
  Direct 702.777.0876 | Main 702.777.0888
  EKeach@GGTrialLaw.com



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From: R J WiL <reon@wellingtoninvestigations.co.nz>
Sent: Monday, November 13, 2023 12:07 AM
To: Eckley M. Keach III <EKeach@GGTrialLaw.com>
Subject: [EXT] Re: Euringer



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Also have young twins the toys do

Seem to correspond,




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                                                      EXHIBIT D
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    See 2 short video showing James walking from lounge to kitchen and back several times in both videos.




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                              EXHIBIT D
                               -123-
             Case 1:21-cv-06868-JPC               Document 79-5          Filed 01/19/24        Page 73 of 105




From:                                 R J WiL <reon@wellingtoninvestigations.co.nz>
Sent:                                 Thursday, November 23, 2023 6:20 PM
To:                                   Eckley M. Keach III
Subject:                              Re: [EXT] Re: Euringer


No luck on Monday, it’s Friday and it was last Friday that I viewed James returning and parking in underground. I did
think I would hear from you from my last email on 20th Nov.


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Free Call; 0800-787-732

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On Mon, 20 Nov 2023 at 00:29, R J WiL <reon@wellingtoninvestigations.co.nz> wrote:
 Morning Eckley,
 On 9th NOV at 6.53am, onsite 3.5hrs, leaving at 10.40am, not seen, Paid.
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 On 10th Nov, 6.50am, Onsite 3hrs, leaving at 9.40am, Paid.
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 At 5.10pm I did see James Euringer drive MMTKAR a Silver Subaru legacy Sedan into the car park. I was not in a position
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 I have attended and surveilled the address an additional 8hrs including Friday 17th Nov. If I allow 2hrs to re
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 do this on a No service no charge basis, .

 Let me know if this is acceptable.

                                                               1

                                                          EXHIBIT D
                                                           -124-
Case 1:21-cv-06868-JPC            Document 79-5         Filed 01/19/24   Page 74 of 105


   Regards Reon Viles

   On Fri, Nov 17, 2023 at 4:28 PM R J WiL <reon@wellingtoninvestigations.co.nz> wrote:
    Onsite trying to serve Jimmy, I have a plan,


    Please excuse brevity sent from mobile device:

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    Security Technician & Consultant.

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    157 Lambton Quay,

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     Male of slim Build,

     And Tuesday evening, he had door open, seen male but couldn’t get him on Video,


     I’ll look at some options.



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     On Wed, 15 Nov 2023 at 07:23, Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:


                                                              2
                                            EXHIBIT D
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                     Case 1:21-cv-06868-JPC     Document 79-5       Filed 01/19/24   Page 75 of 105


Mr. Viles,



Thank you for the updates. At this point, what options do we have to either serve Euringer personally or serve him
by alternative service?



Thanks,



Eckley M. Keach III
Counsel | Greenberg Gross LLP
One Summerlin | 1980 Festival Plaza Drive | Suite 730 | Las Vegas, NV 89135
Direct 702.777.0876 | Main 702.777.0888
EKeach@GGTrialLaw.com

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From: R J WiL <reon@wellingtoninvestigations.co.nz>
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             Case 1:21-cv-06868-JPC              Document 79-5       Filed 01/19/24       Page 78 of 105




From:                               R J WiL <reon@wellingtoninvestigations.co.nz>
Sent:                               Thursday, November 23, 2023 7:35 PM
To:                                 Eckley M. Keach III
Subject:                            Re: [EXT] Re: Euringer
Attachments:                        image_123655411.JPG; image_123655411.JPG; image_123655411.JPG


Rgr that.
I did attend Monday 20th in the evening and male not sighted, I did see Female fitting Chantel description in the window
of the door leading to apartment balcony,



I also attended today Friday 24th, on the chance serving James is the prerogative, A male fitting james build was seen
standing in full length window as I arrived,



I planned to try serve him when he was out and returned to underground, unfortunately He is home and was standing in
window of door on to balcony when I arrived.
Thanks for reply, I’ll await your good news or you may get mine if perseverance is a skill set.

Anyways have a good long weekend,

Regards Reon Viles ,




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Free Call; 0800-787-732

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On Fri, 24 Nov 2023 at 15:49, Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:
 Apologies. My firm is evaluating other approaches. The courts are on holiday through the remainder of the week but I
 will reach out on Monday.


                                                            1

                                                       EXHIBIT D
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Thank you for the update.


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Direct 702.777.0876 | Main 702.777.0888
EKeach@GGTrialLaw.com

Los Angeles | Orange County | Las Vegas | New York




         On Nov 23, 2023, at 6:20 PM, R J WiL <reon@wellingtoninvestigations.co.nz> wrote:


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          I returned at 6pm, staying 1hr, extra.
          On Monday 13th Nov, 7.50pm, got video of James, 2hrs, extra,
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                                                               2
                                                      EXHIBIT D
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Case 1:21-cv-06868-JPC            Document 79-5           Filed 01/19/24       Page 80 of 105


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  Security Technician & Consultant.

  NTT Tower, level 16,
  157 Lambton Quay,

  Mob: 021-562-333
  Office; 04-213-9414
  Free Call; 0800-787-732

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  On Wed, 15 Nov 2023 at 07:23, Eckley M. Keach III <EKeach@ggtriallaw.com> wrote:

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                                              EXHIBIT D
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           MOJ Licensed Security Consultant & Technician

           Government License # 23-103616




           NZSA - Association Member

           Worldwide Association Member - WASP

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                              EXHIBIT D
                               -137-
             Case 1:21-cv-06868-JPC              Document 79-5       Filed 01/19/24       Page 87 of 105




From:                               R J WiL <reon@wellingtoninvestigations.co.nz>
Sent:                               Thursday, November 23, 2023 7:39 PM
To:                                 Eckley M. Keach III
Subject:                            Re: [EXT] Re: Euringer
Attachments:                        image_67158785.JPG; image_67143425.JPG; image_67172097.JPG; image_67220481.JPG


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 I planned to try serve him when he was out and returned to underground, unfortunately He is home and was standing
 in window of door on to balcony when I arrived.
 Thanks for reply, I’ll await your good news or you may get mine if perseverance is a skill set.

 Anyways have a good long weekend,

 Regards Reon Viles ,




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 Los Angeles | Orange County | Las Vegas | New York




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Case 1:21-cv-06868-JPC            Document 79-5          Filed 01/19/24        Page 89 of 105


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                                                   3
                                          EXHIBIT D
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Case 1:21-cv-06868-JPC            Document 79-5                Filed 01/19/24   Page 90 of 105

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Case 1:21-cv-06868-JPC          Document 79-5          Filed 01/19/24     Page 91 of 105

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     See 2 short video showing James walking from lounge to kitchen and back several times in both
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                              EXHIBIT D
                               -148-
             Case 1:21-cv-06868-JPC              Document 79-5       Filed 01/19/24   Page 98 of 105




From:                               R J WiL <reon@wellingtoninvestigations.co.nz>
Sent:                               Sunday, November 26, 2023 9:20 PM
To:                                 Eckley M. Keach III
Subject:                            Re: [EXT] Re: Euringer
Attachments:                        image_67190273.JPG


Always nice to start the week on a win,

Let know how to proceed


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            Case 1:21-cv-06868-JPC              Document 79-5           Filed 01/19/24   Page 99 of 105


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     Case 1:21-cv-06868-JPC                  Document 79-5       Filed 01/19/24      Page 100 of 105
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      RJ Viles | Senior Investigator | WIL

      Security Technician & Consultant.

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